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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

LaShawn Ezell, et al.
                                Plaintiff,
v.                                                  Case No.: 1:18−cv−01049
                                                    Honorable Virginia M. Kendall
City of Chicago, et al.
                                Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, January 27, 2022:


        MINUTE entry before the Honorable Jeffrey Cole: Video status conference held
on 1/27/22. Fact discovery is closed, and expert discovery is proceeding. Counsel will
provide a Joint Status Report regarding the progress of expert discovery including who
has been deposed, and who is scheduled to be deposed for the reporting period. The Joint
Status Report will be filed monthly, beginning on 2/28/22 and continuing thereafter, until
expert discovery is completed on 7/17/22. [302]. Mr. Samuel Heppell of Loevy & Loevy
is to be congratulated on the birth of his new baby. The next video status conference is set
for 3/23/22 at 10:00am. Instructions will be emailed to counsel. Members of the public
and media will be able to call in to listen to this hearing. Please call (571) 353−2301,
access code 509147929. Persons granted remote access to proceedings are reminded of the
general prohibition against photographing, recording, and rebroadcasting of court
proceedings. Violation of these prohibitions may result in sanctions, including removal of
court issued media credentials, restricted entry to future hearings, denial of entry to future
hearings, or any other sanctions deemed necessary by the Court. Should any difficulties
arise during depositions, counsel should contact the Court. I can be reached by a call to
my courtroom deputy, Yulonda Thomas, at 312−408−5178, and she will arrange for me to
participate in the phone call. Emailed notice (yt)




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